
684 S.E.2d 889 (2009)
Nancy F. HARRELL
v.
SAGEBRUSH OF NORTH CAROLINA, LLC d/b/a Sagebrush Steakhouse &amp; Saloon.
No. 433P08.
Supreme Court of North Carolina.
October 8, 2009.
Richard L. Burrows, Wallace, E.C. Thompson, III, Warsaw, for Harrell.
Robert H. Tiller, for Sagebrush of NC.
Prior report: 191 N.C.App. 381, 663 S.E.2d 444.

ORDER
Upon consideration of the petition filed on the 15th of September 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 8th of October 2009."
